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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )      Case No. 1:08CR00024-032
                                                   )
v.                                                 )             OPINION
                                                   )
ANTHONY EUGENE DUTY,                               )      By: James P. Jones
                                                   )      United States District Judge
                   Defendant.                      )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Anthony Eugene Duty, Pro Se Defendant.

        The defendant, proceeding pro se, filed a Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C.A. § 2255 (West Supp. 2013), alleging that

his attorney provided ineffective assistance in several respects. After review of the

record, I find that the defendant is not entitled to relief.



                                             I

        Anthony Eugene Duty and more than 50 other defendants were charged in

this case with conspiracy to distribute cocaine base and cocaine and related

offenses. Duty and two of his codefendants stood trial together before a jury. On
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October 10, 2008, the jury found Duty guilty of conspiracy to distribute 50 grams

or more of cocaine base and 500 grams or more of cocaine as charged. 1

      Following his conviction, a Presentence Investigation Report (“PSR”) was

ordered by the court, in which it was calculated from the evidence at trial that

Duty’s offense involved 160 grams of cocaine base, giving him a Base Offense

Level of 32 as calculated under the U.S. Sentencing Guidelines Manual (“USSG”).

With a two-level decrease for his minor role in the offense, his Total Offense Level

was 30, and his advisory custody range was 121 to 151 months. I sentenced Duty

slightly below the guideline range to the mandatory minimum term of

imprisonment of 10 years (120 months) then required by 21 U.S.C.A.

§ 841(b)(1)(A)(iii) (West 1999),2 and entered judgment on August 25, 2009.

Duty’s direct appeal was unsuccessful. United States v. Duty, 441 F. App’x 138

(4th Cir. 2011) (unpublished). He did not file a petition for a writ of certiorari with

the Supreme Court.

       Duty filed this § 2255 motion on September 25, 2012. He alleges the

following claims for relief: (1) his attorney provided ineffective assistance during


      1
         The jury found Duty not guilty of Count Six of the Indictment, which charged
him with knowingly maintaining a place for the purpose of distributing a controlled
substance.
      2
         The version of § 841 in effect when Duty was sentenced in August 2009
mandated a 10-year minimum sentence of imprisonment for a violation involving 50
grams or more of cocaine base.
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plea negotiations; (2) he is entitled to a reduced sentence under the Fair Sentencing

Act; (3) his sentence is illegal; and (4) his attorney was ineffective at trial. The

United States moves for dismissal of the § 2255 motion as untimely filed and

without merit. Duty has responded to the motion, making the matter ripe for

disposition.



                                          II

      A person convicted of a federal offense has one year to file a § 2255 motion,

starting from the latest of the following dates:

               (1) the date on which the judgment of conviction becomes
      final;

            (2) the date on which the impediment to making a motion
      created by governmental action in violation of the Constitution or
      laws of the United States is removed, if the movant was prevented
      from making a motion by such governmental action;

             (3) the date on which the right asserted was initially recognized
      by the Supreme Court, if that right has been newly recognized by the
      Supreme Court and made retroactively applicable to cases on
      collateral review; or

             (4) the date on which the facts supporting the claim or claims
      presented could have been discovered through the exercise of due
      diligence.




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28 U.S.C.A. § 2255(f). If the defendant files a direct appeal, but does not petition

the Supreme Court for a writ of certiorari, “§ 2255’s one-year limitation period

starts to run when the time for seeking such review expires.” Clay v. United

States, 537 U.S. 522, 532 (2003).

      Under the well-established rule in Clay, I find no merit to the United States’

argument that Duty’s § 2255 motion is untimely filed. After the Fourth Circuit

affirmed the judgment in this case on August 1, 2011, Duty had 90 days to file a

petition for a writ of certiorari.   Only when Duty failed to seek such review by

November 1, 2011, did his one-year filing period under § 2255(f)(1) begin to run,

and it did not expire until October 31, 2012. Duty signed and dated his § 2255

motion on September 25, 2012, 3 and the court received and docketed that motion

on October 1, 2012, well within the statutory filing period.



                                            III

                        A. Ineffective Assistance of Counsel.

      To prove that counsel’s representation was as defective to require reversal of

the conviction or sentence, a defendant must show that “counsel’s representation


      3
          A prisoner’s motion is deemed filed when he delivers it to prison officials for
mailing to the court. See Rule 3(d), Rules Governing § 2255 Proceedings. Because it
appears that Duty signed and dated his § 2255 motion on September 25, 2013, I assume
for purposes of this opinion that he delivered the motion to prison authorities on that day
for mailing.
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fell below an objective standard of reasonableness,” considering circumstances as

they existed at the time of the representation. Strickland v. Washington, 466 U.S.

668, 688 (1984).     The defendant must overcome a strong presumption that

counsel’s performance was within the range of competence demanded from

attorneys defending criminal cases. Id. at 689. In addition, the defendant must

show prejudice by demonstrating a “reasonable probability” that but for counsel’s

errors, the outcome would have been different. Id. at 694-95. When the defendant

alleges ineffective assistance of counsel at the plea bargaining stage, he must

demonstrate a reasonable probability that, absent counsel’s deficient advice, he

would have accepted a plea that would have resulted in a less severe conviction,

sentence, or both. Lafler v. Cooper, 132 S. Ct. 1376, 1384-85 (2012).

      If it is clear that the defendant has not satisfied one prong of the Strickland

test, the court need not inquire whether he has satisfied the other prong. 466 U.S.

at 697. In a § 2255 motion, the defendant bears the burden of proving his claims

by a preponderance of the evidence. Miller v. United States, 261 F.2d 546, 547

(4th Cir. 1958).

      Claim 1: Counsel’s Representation during Plea Negotiations.

      Duty alleges that during the pretrial stage of his case, his attorney was

ineffective (a) by failing to “advise [him] of the quantifiable benefits of entering a

guilty plea including both acceptance of responsibility and the possibility that


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substantial assistance could reduce the sentence below the mandatory minimum”;

(b) by giving inaccurate advice regarding the consequences of proceeding to trial

as compared to benefits of plea offer; and (c) by misadvising him as to the law and

the strength of the United States’ case. (2255 Mot. 15.) Duty states that he had

rejected the plea proposal because counsel advised him that he would face the

same prison sentence, whether he pleaded guilty or was convicted at trial. He also

claims that counsel told him that the government’s case was weak and failed to

explain that “even a trace of illegal drugs was sufficient to convict.” (Id. at 16.)

Duty asserts that if he had pleaded guilty, his offense level under the guidelines

would have been 27 or less and his sentence would likely have been 70 months.

      Duty’s trial counsel has submitted an affidavit providing an account of his

representation of Duty. Early in the case, counsel told Duty that his best chance to

limit his potential prison sentence was to assist the prosecution. Duty said he

would not plead guilty.     At some point, the prosecutor offered, and counsel

reviewed with Duty, a plea proposal allowing Duty to plead guilty to the

conspiracy charge and stipulate to a drug amount that subjected Duty to a 10-year

mandatory minimum sentence under § 841(b)(1)(A). The proposed agreement did

not promise Duty a sentence reduction for substantial assistance and it reserved the

prosecutor’s discretion to determine whether such a motion was warranted.

Counsel advised Duty that he faced a 10-year mandatory minimum sentence if he


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pleaded guilty under the proposal and would likely not receive a sentence

substantially higher than 10 years if convicted after trial.

      Nevertheless, counsel told Duty several times that entering into a plea

bargain was in his best interest, since a substantial assistance motion for reduction

was the only way he might obtain a sentence below the mandatory minimum.

Duty told counsel that he would not plead guilty unless the agreement guaranteed

him a sentence less than the 10-year mandatory minimum, and counsel responded

that no such guarantee could be given. Duty insisted that the witnesses against him

were not credible. Counsel advised him that a jury could believe those witnesses

and that there was a strong likelihood Duty would be convicted. Duty rejected the

proposed plea agreement.

      Duty fails to demonstrate ineffective assistance under these circumstances.

The parties agree that counsel advised Duty his sentence would likely be the same

with the plea agreement or after trial, and I find this advice to be factually and

legally accurate. Duty does not dispute counsel’s evidence that the drug weight in

the proposed plea agreement would have triggered the 10-year mandatory

minimum sentence, as did the jury’s verdict at trial. Under the plea agreement,

with reductions for acceptance of responsibility and his minor role in the offense,

Duty might have achieved a Total Offense Level of 27.              Ordinarily, with a

Criminal History Category III and a Total Offense Level of 27, the guidelines


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custody range would be 87 to 108 months. The statutory mandatory minimum

changes that result, however. Under USSG § 5G1.1(b), “[w]here a statutorily

required minimum sentence is greater than the maximum of the applicable

guideline range, the statutorily required minimum sentence shall be the guideline

sentence.”    See Dorsey v. United States, 132 S. Ct. 2321, 2327 (2012)

(“[O]rdinarily no matter what range the Guidelines set forth, a sentencing judge

must sentence an offender to at least the minimum prison term set forth in a

statutory mandatory minimum”). Thus, Duty would have gained no sentencing

benefit from the stipulated drug amount in the proposed agreement, and counsel’s

advice to that effect was neither deficient nor prejudicial under Lafler.

      Duty’s allegations regarding counsel’s advice on substantial assistance fail

to satisfy the prejudice prong of Lafler. Duty states no facts suggesting that absent

counsel’s alleged failure to explain this issue fully, Duty would have cooperated

with law enforcement, or that he had sufficient information on other offenders to

have warranted a government motion for reduction.

      Duty also fails to allege facts showing how he was prejudiced under Lafler

by counsel’s alleged failure to explain the strength of the government’s case. Duty

does not dispute counsel’s statement that he refused to accept a plea agreement

without a guaranteed sentence of less than 10 years. Since the proposed plea

agreement did not accomplish that goal, Duty fails to demonstrate, as required in


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Lafler, that but for counsel’s allegedly deficient advice, he would have accepted

that agreement.

      For the stated reasons, Duty does not establish any claim that counsel

provided ineffective assistance during plea negotiations. Therefore, I will grant the

Motion to Dismiss as to Claim 1.

                      Claim 4: Ineffective assistance at trial.

      In Claim 4, Duty faults counsel for (a) failing to investigate and object to

double-counting of drug quantities used against Duty; and (b) failing to present

alibi and character witnesses. Duty asserts that, in calculating his drug amount, the

probation officer relied on testimony from multiple witnesses about the same

drugs. Duty claims counsel asked him only after the government’s case-in-chief if

he had any witnesses, which prevented him from calling his father and girlfriend as

alibi witnesses. Duty alleges that these witnesses could have offered testimony

that “specifically contradicted the (less credible) government witnesses’ testimony

regarding the specific drug transactions.” (Def.’s Reply 3.) Duty also alleges that

his desired witnesses could have testified in mitigation at sentencing that “Duty

was an addict in the presence of drug dealers, not a dealer.” (§ 2255 Mot. 19.)

      Trial counsel states that from talking to Duty, his father, and his girlfriend,

counsel understood that they would testify Duty was a “significant drug addict.”

(Mot. Dismiss Ex. 2-3.) Counsel advised Duty that testimony about the extent of


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his drug addiction would not benefit, and might harm, the defense trial strategy,

and that the witnesses would not likely be allowed to express their opinions that

Duty was just a drug addict, not a drug dealer.

      I find that Duty has not forecast evidence on which he could establish that

counsel was ineffective at trial or sentencing with regard to alleged double-

counting. Duty fails to specify any viable objections counsel could have made to

prosecution witnesses’ testimony about drug transactions or specifically how

counsel could have demonstrated “double-counting” in the calculation of the drug

weight for sentencing purposes. Thus, Duty has not met his evidentiary burden to

prove counsel’s representation was either deficient or prejudicial to the defense

with respect to the drug weight determination. See Miller, 261 F.2d at 547.

      Similarly, I cannot accept as true Duty’s conclusory assertion that the

omitted witnesses’ testimony would have contradicted the government’s evidence

about specific drug transactions or mitigated the sentence. Because Duty makes no

affirmative showing of the expected testimony his father and girlfriend would have

given, he has not sufficiently established deficient performance or prejudice under

Strickland regarding counsel’s alleged failure to investigate or call these




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witnesses. 4 See Burger v. Kemp, 483 U.S. 776, 793 (1987) (finding insufficient

showing of attorney error where petitioner did not submit an affidavit from the

omitted witness, establishing that the witness would have offered substantial

mitigating evidence if he or she had testified). I will grant the Motion to Dismiss

as to Claim 4.

                             B. The Fair Sentencing Act.

       In Claim 2, Duty asserts that he is entitled to a reduction in sentence under

the Fair Sentencing Act (“FSA”) because it applies retroactively to defendants

whose judgments were not final on direct review when the Act became effective.

Duty also claims that without such a reduction, his sentence is harsher than his

codefendants’ sentences, in violation of his constitutional rights. I find no merit to

these claims.

      The FSA took effect on August 3, 2010, during the pendency of Duty’s

appeal. It increased the drug amounts necessary to trigger the 10-year mandatory

minimum under § 841(b)(1)(a) for cocaine base trafficking offenses from 50 grams

to 280 grams. Last year, the Supreme Court held that the FSA’s “new, lower

mandatory minimums . . . apply to the post-Act sentencing of pre-Act offenders.”


      4
         Although Duty offers his father’s affidavit disputing counsel’s statement that he
conferred with the father about his potential testimony, this affidavit does not state what
the father’s testimony would have been at trial or sentencing. See Beaver v. Thompson,
93 F.3d 1186, 1195 (4th Cir. 1996) (requiring a specific showing of what the missing
testimony would have been in order to state claim under Strickland).
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Dorsey, 132 S. Ct. at 2335. However, because Duty’s sentencing predated the

August 3, 2010, effective date of the FSA, he is ineligible for a sentence reduction

under the FSA.

      The rationale of the Dorsey decision was, in part, to eliminate disparity

between inmates sentenced after the FSA. Id. at 2333. Duty argues that, by logical

extension, this rationale also requires application of the Act to inmates sentenced

before the Act, whose convictions did not become final until after the Act. I find

no merit to this argument. In Dorsey, the Court noted that its holding created a

new disparity “between those pre-Act offenders already sentenced and those not

yet sentenced as of August 3, 2010.” 132 S. Ct. at 2335 (omitting parentheses).

The Court reemphasized that “in federal sentencing the ordinary practice is to

apply new penalties to defendants not yet sentenced, while withholding that change

from defendants already sentenced.” Id.

      Moreover, the Fourth Circuit has held that the FSA does not apply

retroactively to cases pending on direct appeal where the defendant’s offense and

sentence occurred before the adoption of the Act. United States v. Bullard, 645

F.3d 237, 248 (4th Cir.), cert. denied, 132 S. Ct. 356 (2011). While the holding in

Bullard was modified by Dorsey insofar as its holding relates to defendants whose

crime occurred prior to the FSA but were sentenced afterwards, United States v.

Allen, No. 12-4168, 2013 WL 1777564, at *7 (4th Cir. Apr. 26, 2013), I find it


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supports the view that pre-FSA sentenced defendants are not eligible for the

application of the FSA. 5 Accordingly, I will grant the Motion to Dismiss as to

Duty’s Claim 2, alleging entitlement to a reduction under the FSA.

                                 C. Procedural Default.

       In Claim 3, Duty asserts that his sentence is illegal because (a) it is based on

unreliable information from Howard Mayfield and Valerie Lester; and (b)

witnesses have recanted testimony that had been used to establish Duty’s drug

weight. The government argues that this claim is barred from review on the merits

under § 2255, because Duty could have raised it on direct appeal. I agree.

       Claims regarding trial or sentencing errors that could have been, but were

not, raised on direct appeal are barred from review under § 2255, unless the

defendant shows cause for the default and actual prejudice or demonstrates that he

is “actually innocent.” See Bousley v. United States, 523 U.S. 614, 622 (1998).

Duty fails to show cause for his failure to present the allegations in Claim 3 in his

direct appeal,6 and also makes no colorable showing of actual innocence of the


       5
         In a recent case, a majority of a panel of the Sixth Circuit held that constitutional
considerations required the retroactive application of the FSA to crack offenders who
were sentenced before the adoption of the FSA, United States v. Blewett, Nos. 12-5226,
12-5582, 2013 WL 2121945, at *6 (6th Cir. May 17, 2013), vacated and reh’g en banc
granted (July 11, 2013), but I agree with the dissent in Blewett that the constitutional
argument is invalid, id. at *9-11.
       6
            Duty argues that after the FSA, the drug amounts in his case became more
critical to his sentence. Since I have already found, however, that the FSA does not apply
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offense. Because Claim 3 is procedurally barred from review, I will grant the

Motion to Dismiss.



                                            IV

       For the stated reasons, I find that Duty has failed to establish any ground on

which he is entitled to relief under § 2255. Therefore, I will grant the Motion to

Dismiss.

       A separate Final Order will be entered herewith.

                                                  DATED: July 25, 2013

                                                  /s/ James P. Jones
                                                  United States District Judge




to Duty, he is not entitled to relief under this rationale, even if he could show cause for
his default of the claim on appeal.
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